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Robert H. Marcereau (SBN 211534) FILED

MARCEREAU & NAZIF

26000 Towne Centre Drive, Suite 230 APR 26 2016
el: - : p fe

Fax: (949) 531-6501
E-mail: rmarcereau@mncalaw.com

ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CANTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES
Adversary Case No.:
Kent W. Easter, dba Kent Easter

Consulting, dba Law Offices of Kent W.
Easter COMPLAINT TO DETERMINE
NONDISCHARGEABILITY OF DEBT

[11 U.S.C. § 523(a)(6)]

Kelli Peters, Bill Peters and Sydnie Peters,

Plaintiffs,

VS.

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter,

Defendants.

JURISDICTION AND VENUE

1. This Court has jurisdiction over this proceeding pursuant to

28 U.S.C. §§ 1334(a) and (b), and 157(a).

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COMPLAINT TO DETERMINE NONDISCHARGEBILITY OF DEBT

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2. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B), (1), and
(O).

3. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

PARTIES

4. Atall times relevant, Creditors/Plaintiffs Kelli Peters, Bill Peters and Sydnie
Peters (collectively, “Plaintiffs” were individuals residing in Orange County, California.

5. Plaintiffs are informed and believes, and based thereon alleges, that Defendant
Kent W. Easter, dba Kent Easter Consulting, dba Law Offices of Kent W. Easter
(“Defendant” or “Kent Easter’) is the debtor in Bankruptcy Case No. 8:16-bk-10223-ES,
and at all times relevant was an individual with a principal place of residence in Orange

County, California.

CASE BACKGROUND

6. Beginning in or about early 2011, Kent Easter and his then wife, Jill Easter,
conspired and plotted to have Kelli Peters arrested, criminally convicted and imprisoned for
crimes associated with unlawful possession of narcotics and illegal drugs, child
endangerment, and driving under the influence, among other things.

7. On or about February 16, 2011, Kent Easter and Jill Easter conspired to and did
plant Vicodin, Percocet, Marijuana, and a used Marijuana pipe in the back seat of Mrs.
Peters’ car.

8. After the drugs were planted in Mrs. Peters’ car, Kent Easter then called the
Irvine police, falsely telling the police that he was a “concerned parent” who had witnessed
Mrs. Peters driving erratically in the parking lot of the elementary school where Mrs. Peters
worked as a volunteer. Mr. Easter falsely told the police that he had witnessed Mrs. Peters
(a) driving erratically; (b) using drugs; (c) placing a large quantity of illegal drugs in the
backseat of her car; and (d) entering the school where numerous children were present. In

an attempt to cover his tracks, Mr. Easter gave the police a phony name, telephone number

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COMPLAINT TO DETERMINE NONDISCHARGEBILITY OF DEBT

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and address, and spoke with a phony Indian accent.

9. The Irvine Police acted on Mr. Easter’s false report and went to the school to
investigate. When Irvine police officers arrived at the school, they found Mrs. Peters’ car in
the parking lot, looked through the window, and saw the bag of drugs behind the driver’s
seat, just as Mr. Easter had described in his phony police report. The police officers then
entered the school, tracked down Mrs. Peters and, in front of children, parents, school
administrators, volunteers and Mrs. Peters’ twelve year old child, took Mrs. Peters into
custody and escorted her outside the building.

10. When police first took Mrs. Peters into custody, Mrs. Peters was immediately
distraught, believing that something terrible must have happened to her husband, and that
the police were there to notify her of his death. After a few moments, however, Mrs. Peters
learned that the police were in fact following up on a tip that she had been driving
erratically around the elementary school parking lot, was on drugs, and had stashed a bag of
drugs in the back of her car. Mrs. Peters was shocked at the accusation.

11. In a desperate effort to clear her name, Mrs. Peters consented to a search of her
car, still hoping that this was all some sort of terrible misunderstanding. In front of the
entire school, Mrs. Peters was escorted to her car by police. To Mrs. Peters’ horror, when
the police opened her car, they pulled out the bag of drugs and drug paraphernalia.

12. In front of a crowd of people, including the police, the entire school, parents,
volunteers, passersbys and Mrs. Peters’ twelve year old child, the police laid out the
Vicodin, Percocet, Marijuana and Marijuana pipe on the hood of a nearby police car. Mrs.
Peters was then forced to sit on the curb in the school parking lot like a criminal, next to the
array of drugs and drug paraphernalia, for all to see. Mrs. Peters was detained at the school
for over two hours while the police conducted their investigation. Distraught and afraid,
Mrs. Peters was crying and shaking uncontrollably.

13. While Mrs. Peters was being detained by police, the school principal notified

Mr. Peters that his wife had been taken into custody and that he needed to come down to the

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COMPLAINT TO DETERMINE NONDISCHARGEBILITY OF DEBT

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school immediately. Fearing for his wife, Mr. Peters immediately left work and rushed over
to the school, where he found his wife being held by police on suspicion of illegal drug use
and drug possession. Mr. Peters was horrified.

14. Continuing their investigation of Mrs. Peters and pursuant to police protocol, the
police then escorted Mrs. Peters and her family back to their home, where they conducted a
search of the premises. While Mrs. Peters, her husband and their young daughter Sydnie
watched in nervous shock, the police searched their home, including bedrooms, bathrooms,
the garage and the patio. CSI later showed up at the Peters’ home and took DNA samples
of Mrs. Peters, Mr. Peters and their child with intrusive cheek swabs. CSI also conducted
fingerprint analyses of the family and their car.

15. During her detention by police and the continued criminal investigation, Mrs.
Peters was faced with the prospect of being convicted for felony drug possession, felony
child endangerment, and driving under the influence, among other things—offenses which
would not only cause her to lose her volunteer job and be disgraced in her community, but
potentially send her to jail for years and rip her away from her child and husband. Bill
Peters and Sydnie Peters were faced with possibility of losing their wife and mom.

16. The Peters’ suffering did not end after the day on which Mrs. Peters was
detained. Over the next year, the Irvine police continued to investigate the matter. For
several months, the Peters remained fearful that someone was out to hurt or kill them, and
that Mrs. Peters might still be arrested and convicted of crimes she did not commit. Mrs.
Peters, Mr. Peters and their daughter felt helpless and terrified throughout the entire ordeal.
Bill Peters became so distraught that he began to suffer panic attacks. Sydnie Peters was
humiliated, became withdrawn, and was shunned by her classmates at school.

17. The entire Peters family suffered extreme emotional distress, anxiety and
humiliation from the despicable and intentional acts by Kent Easter and Jill Easter.

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THE CRIMINAL TRIAL AND CONVICTIONS

18. | After a lengthy and incredibly thorough investigation, the Irvine police were
able to trace the call made by Kent Easter to a hotel lobby, where surveillance footage
revealed his identity. The police also found DNA from both Mr. and Mrs. Easter on the
drugs and Marijuana pipe that were planted in Mrs. Peters’ car, and uncovered numerous
text messages between Mr. and Mrs. Easter made during the middle of the night when the
drugs were planted.

19. On or about June 16, 2012, the Irvine police arrested Kent and Jill Easter.

20. On October 30, 2013, Jill Easter pleaded guilty to felony false imprisonment
through fraud and deceit pursuant to Penal Code § 236/237a for the drug-planting scheme
against Kelli Peters.

21. On September 10, 2014, Kent Easter was found guilty of felony false
imprisonment through fraud and deceit (Penal Code 236/237a) in Orange County Superior
Court, Case No. 12ZF0153, for the drug-planting scheme against Kelli Peters.

THE CIVIL TRIAL AND JUDGMENT

22. Plaintiffs sued Kent Easter and Jill Easter on August 3, 2012, in the Superior
Court for the State of California, County of Orange, Case No. 30-2012-00588580-CU-PO-
CIC, (the “State Court Action”), alleging causes of action for false imprisonment and
intentional infliction of emotional distress regarding the above-stated facts. Plaintiffs
sought both compensatory and punitive damages.

23. In light of their criminal convictions and the overwhelming evidence against
them, on January 26, 2016, Kent Easter and Jill Easter stipulated that they intentionally and
willfully tried to frame Kelli Peters for drug possession and made a false report to police,
and stipulated to liability for the torts of False Imprisonment and Intentional Infliction of
Emotional distress as to Kelli Peters, Bill Peters and Sydnie Peters. The Easters, however,
disputed the amount of damages that should be awarded.

24. Kent and Jill Easter actively participated in all stages of discovery and trial in the

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COMPLAINT TO DETERMINE NONDISCHARGEBILITY OF DEBT

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State Court Action, and all of the issues in the State Court Action were actually litigated
fully and fairly. Kent and Jill Easter had an opportunity to, and did, testify and present their
own evidence during the trial in the State Court Action.

25. On February 5, 2016, the Jury returned a Verdict in favor of Plaintiffs and
against Kent Easter and Jill Easter. A true and correct copy of the Verdict is attached hereto
as Exhibit “A” and incorporated herein as though set forth in full.

26. The jury awarded compensatory damages against Kent Easter and Jill Easter in
favor of Plaintiffs. The jury also found, by clear and convincing evidence, that both Kent
Easter and Jill Easter had acted with malice, oppression or fraud, and awarded punitive
damages against these defendants.

27. On February 29, 2016, the State Court entered a “Judgment on Jury Verdict” (the
“Judgment”) in the State Court Action based on, among other things, the Jury’s findings in
the Verdict. A true and correct copy of the Judgment is attached as Exhibit “B” hereto. By
this reference the Judgment is incorporated herein as though set forth in full.

28. The Judgment provides that Plaintiffs are entitled to recover from Kent Easter
and Jill Easter, jointly and severally, the following principal amounts:

a. Kelli Peters: $800,000 for Intentional Infliction of Emotional Distress!
b. Sydnie Peters: $600,000 for Intentional Infliction of Emotional Distress
c. Bill Peters: $365,000 for Intentional Infliction of Emotional Distress

29. The Judgment also provides that Plaintiffs are entitled to recover punitive
damages against Kent Easter in the amount of $1,500,000, and punitive damages against Jill
Easter in the amount of $2,100,000.

30. The Judgment also provides that Plaintiffs are entitled to recover interest on the

above sums at the rate of ten percent (10%) per annum, from the date of entry of the

’ The jury awarded $365,000 to Kelli Peters for false imprisonment and $800,000 for intentional
infliction of emotional distress. Since these amounts do not stack, the total amount of
compensatory damages awarded to Kelli Peters is $800,000.

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COMPLAINT TO DETERMINE NONDISCHARGEBILITY OF DEBT

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Judgment until paid.
FIRST CAUSE OF ACTION

(11 U.S.C. § 523(a)(6)

31. Plaintiff incorporates herein by this reference paragraphs 1 through 30 of this
Complaint as if set forth in full.

32. The debts due to Plaintiffs from Kent Easter are non-dischargeable under 11
U.S.C. § 523(a)(6) because the debts arose from willful and malicious injury by the debtor
against Plaintiffs.

33. Based on all the evidence, as well as the stipulated facts, the Jury found that
Kent Easter had intentionally harmed Plaintiffs, and also found by clear and convincing
evidence that he had acted with malice, fraud or oppression.

34. The Jury’s findings have been confirmed by the Judgment.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that the Court enter judgment in their favor and
against Kent Easter as follows:

1. Kent Easter’s debts to Plaintiffs under the Judgment, plus interest, are
nondischargeable;

2. Plaintiffs are awarded judgment against Kent Easter pursuant to the state court
Judgment;

3. Plaintiffs are awarded interest under California law on the Judgment, at the rate
of 10% per annum from the date of the Judgment until paid;

4. Plaintiffs are awarded their costs of suit and reasonable attorneys’ fees according
to proof; and
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COMPLAINT TO DETERMINE NONDISCHARGEBILITY OF DEBT

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5. For such other and further relief as is just and equitable under the circumstances

of this case.

Dated: April 22, 2016 Uy & NAZIF

Robert H’ Marcereau
Attorney for Creditors Kelli Peters, Bill
Peters and Sydnie Peters

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COMPLAINT TO DETERMINE NONDISCHARGEBILITY OF DEBT

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Exhibit A
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MARCEREAU & NAZIF
Robert H. Marcereau (State Bar No. 211534) lt eau
Sy Nazif (State Bar No. 228949) SUPERIOR COURT OF CALIFORNIA
26000 Towne Centre Drive, Suite 230 CoS NT OE
Foothill Ranch, CA 92610
Telephone: Os 531-6500 FEB 05 2016
Facsimile: (949) 531-6501
ALAN CARLSON, Clerk of the Court
Attorneys for Plaintiffs Chany « pore
BY K. CHUNG-MARQUEZ
ue
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF ORANGE
KELLI PETERS, et. al. CASE NO. 30-2012-00588580-CU-PO-CJC
Plaintiff, VERDICT FORM
VS.
Trial Date: February 1, 2016
KENT W. EASTER ET. AL.; and DOES 1 to | Dept: C32

100, inclusive,
Defendants.

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We the Jury answer the questions submitted to us as follows:

1. What are Kelli Peters’ damages for False Imprisonment?
$ 305,900

2. What are Kelli Peters’ damages for Intentional Infliction of Emotional Distress?

$ BP 0, OPV

3. What are Bill Peters’ damages for Intentional Infliction of Emotional Distress?

5 245,090

4. What are Sydnie Peters’ damages for Intentional Infliction of Emotional Distress?

s OFF, P99

5. Did Kent W. Easter engage in the conduct with malice, oppression, or fraud?

/ Yes No

{If your answer to question 5 is yes, then answer question 6. If you answered
no, move on to question 7.]

6. What amount of punitive damages, if any, do you award Plaintiffs jointly against Kent W.
Easter?

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7. Did Jill B. Easter (aka Ava Easter, aka Ava Bjork, aka Ava Everheart) engage in the
conduct with malice, oppression, or fraud?
Yes No

a

[If your answer to question 7 is yes, then answer question 8. If you answered
no, stop here, answer no further questions, and have the presiding juror sign and date

this form.]

§. What amount of punitive damages, if any, do you award Plaintiffs jointly against Jill B.
Easter (aka Ava Easter, aka Ava Bjork, aka Ava Everheart)?

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Signed: CudJ Otertd cn
Presiding Juror

Dated: 2-55-16

After all verdict forms have been signed, notify the [clerk/bailiff/court attendant] that
you are ready to present your verdict in the courtroom.

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Exhibit B
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SUPERIOR COURT OF CALIFORNIA
COUNTY OF ORANGE
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FEB 29 2016
ALAN CARLSON, Clerk of the Court
BY K. CHUNG-MARQ
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF ORANGE
KELLI PETERS, CASE NO. 30-2012-00588580-CU-PO-CIC
Plaintiff Assigned to: Judge Michael Brenner
KENT W. EASTER, JORY VERDICT
Date Action Filed: August 2, 2012
Defendants. Trial Date: February 2, 2016
This action came on regularly for trial on February 2, 2016 in Department C-62 of the
Orange County Superior Court, the Hon. Michael Brenner, Judge presiding: the defendants Kent W.
Easter and Jill B. Easter, aka Ava Everheart, aka Ava Bjork, aka Ava Easter, appearing in pro per
land plaintiffs Kelli Peters, Bill Peters, and Sydnie Peters (named as “JANE DOE") (collectively,
“Plaintiffs”) appearing by attomeys Robert H. Marcereau & Sy Nazif. The following facts were
jstipulated to in this case:
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JUDGMENT ON JURY VERDICT

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1, On February 16, 2011, Defendants Kent Easter and Jill Easter (A) planted illegal drugs and
drug paraphernalia in Plaintiff Kelli Peters’ car, including bags of Vicodin, Percocet and
Marijuana and a used Marijuana pipe; and (B) made a false report to Irvine Police that they
witnessed Kelli Peters driving erratically and hiding drugs in her car; which (C) resulted in
the detention and investigation of Plaintiff Kelli Peters by police.

2. The actions of Kent and Jill Easter caused emotional distress to Plaintiffs Kelli Peters, her
husband Bill Peters, and their daughter, Jane Doe.

3. On October 30, 2013, Defendant Jill B. Haster pleaded guilty to felony false imprisonment of
Plaintiff Kelli Peters pursuant to Penal Code 236/237a in Orange County Superior Court,
Case No. 12ZF0153.

4. On September 10, 2014, Defendant Kent W. Easter was convictod of felony false
imprisonment of Plaintiff Kelli Peters pursuant to Penal Code 236/237a in Orange County
Superior Court, Case No. 12ZF0153.

5S. Defendants Kent Easter and Jill Easter are solely responsible for the wrongful acts against
Plaintiffs, and no other persons assisted them or participated in these acts.

6. Based on the above, Defendants Kent W. Raster and Jill B, Easter, jointly and severally,
stipulated to liability in this lawsuit as follows:

a. Defendants stipulate to liability for the First Cause of Action in the First Amended
Complaint, “Intentional Infliction of Emotioual Distress” as to all Plaintiffs (Kelli
Peters, Bill Peters, and their daughter Jane Doe);

b. Defendants stipulate to liability as to the Third Canse of Action in the First Amended
Complaint, “False Imprisonment,” as to Plaintiff Kelli Peters.

A jury of twelve persons (plus two alternates) was regularly impaneled and swom.
Witnesses were swom and testified. After hearing the evidence and arguments of the parties, the
jury was duly instructed by the Court and the case was submitted to the jury. The jury deliberated
and thereafter returned into court with its verdict as follows:

JUDGMENT ON JORY VERDICT

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1 We the Jury answer the questions submitted to us as follows:
2
3 || 1. What are Kelli Peters’ damages for False Imprisonment?
4 $365,000
5
6 ||2. What are Kelli Peters’ damages for Intentional Inflictian of Emotional Distress?
7 $800,000
8
5 ||3. What are Bill Peters’ damages for Intentional Infliction of Emotional Distress?
10 $365,000
11
12 ||4. What are Sydnie Peters’ damages for Intentional Infliction of Emotional Distress’?
13 $600,000
14
15 5. Did Kent W. Easter engage in the conduct with malice, oppression, or fraud?
16
17 _xX_ Yes No
18
19 {If your answer to question 5 is yes, then answer question 6. If you answered no,
20 |{move to question 7.]
21
22 ||6. What amount of punitive damages, if any, do you award Plaintiffs jointly against Kent W.
23 ||Easter?
24 $1.5 million
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JUDGMENT ON JURY VERDICT

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7. Did Jill B. Easter (aka Ava Easter, aka Ava Bjork, aka Ava Everheart) engage in the
conduct with malice, oppression, or fraud?

_x _ Yes No
[If your answer to question 7 is yes, then answer question 8. If you answered no, stop
here, answer no further questions, and have the presiding juror sign and dete this form]
8. What amount of punitive damages, if any, do you award Plaintiffs jointly against Jill B.
Easter (aka Ava Easter, aka Ava Bjork, aka Ava Everheart)?

$2.1 million

Signed: /s/ CW Jameson
Presiding }
Dated: 2-5-16

After all verdict forms have been signed, notify the [clerk/bailiffcourt attendant] that you are
ready to present your verdict in the ceurtroom

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that Plaintiffy shall
have and recover from defendants as follows:

Plaintiff Kelli Peters shall have and recover against Kent W. Easter and Jill B. Easter (aka
Ava Easter, aka Ava Bjork, aka Ava Everheart), jointly and severally, the sum of
$800,000.00.

Plaintiff Sydnie Peters (identified in this case as “JANE DOE”), shall have and recover
lagainst Kent W. Easter and Jill B. Easter (aka Ava Raster, aka Ava Bjork, aka Ava Everheart),
jointly and severally, the sum of $600,000.00.

Plaintiff Bill Peters, shall have and recover against Kent W. Easter and Jill B. Easter (aka
Ava Easter, aka Ava Bjork, aka Ava Everheart), jointly and severally, the sum of
$365,000.00.

JUDGMENT ON JURY VERDICT

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1. Plaintiffs Kelli Peters, Sydnie Peters (identified in this case as JANE DOE) and Bill Peters
2 | {shall jointly have and recover against Kent W. Easter the total sum of $1,500,000.00 in punitive
3 | |damages.
4 Plaintiffs Kelli Peters, Sydnie Peters (identified in this case as JANE DOE) and Bill Peters
5 ||shall jointly have and recover against Jill B. Easter (aka Ava Easter, aka Ava Bjork, aka Ava
6 | |Everheatt) the total sum of $2,100,000.00 in punitive damages.
7 Plaintifis shall have and recover interest on all of the above sums at the rate of ten percent
8 |(10%) per annum from the date of the entry of this judgment until paid.
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10 Dated:
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JUDGMENT ON JURY VERDICT

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PROOF OF SERVICE
1, Nicole Lipowakd declare as follows: I am a citizen of the United States, over 18 years of age and
am not a party to the within action. My place of employment loyment and business address is

U & NAZIF, 26000 Towne Centre Drive, Ste. 230, Foothill Ranch, California, which
is located in Orange County where the service took place.

On February 22, 2016, I served a copy of the following entitled document(s):
AMENDED [PROPOSED] JUDGMENT ON JURY VERDICT

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KELLI PETERS, et al vs. JILL B. EASTER, et al.; Case NO. 30-2012-00588580-CU-PO-CJC
on the following interested party(s) in said case:
Kent W. Easter, In Pro Per Jill B, Easter, In Pro Per
153 Baywood Drive P.O. Box 12402
‘Newport Beach, CA 92660 Costa Mesa, CA 92627
10 = 981-9447 (949) 451-0025
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19 || service located at 1200 Quail Street, Ni Beach, 92660. The envelope was marked
for overnight delivery, with the delivery to the cadets account

1 re VIA PERSONAL SERVICE I caused to be delivered by hand the attached documents to
persons named above.

[X] VIAE FER VICE Based on Rules of Court or an agreement of the parties to
23 tcept elecironte service, | caused the documents to be sent to the persons named above.

24 {1 and declare under penalty of pesjury under the laws of the State of California that the
is true and correct and that this declaration was executed on February 22, 2016, at
25 || Foothill Ranch, California.

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27 Li

PROOF OF SERVICE

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): ADVERSARY PROCEEDING COVER SHEET;
COMPLAINT TO DETERMINE NON DISCHARGEABILITY OF DEBT will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
4/26/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

ecf.alerttKosmala@titlexi.com; notices@becket-lee.com; claims@recoverycorp.com; ustpregion16.sa.ecf@usdoj.gov

[-] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 4/26/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M Kosmala, 3 MacArthur Place, Suite 760, Santa Ana, CA 92707

Judge: Honorable Erithe A. Smith, United States Bankruptcy Court, Central District of California, Ronald Reagan Federal
Building and Courthouse, 411 West Fourth Street, Suite 5040 / Courtroom 5A, Santa Ana, CA 92701-4593

L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date , |served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

L] Service information continued on attached pag]

declare under penalty of perjury under the laws of the United States that the foregoing is true and cones
c
4/26/2016 Nicole Lipowski /s/ Nicole ‘ioomiOZ- 2 CIE
Date Printed Name Signature ( YU fp

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
